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 X1tPfSV.PPOPIPSReptlblicOfChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJud
 FPdPF3lCOUft-400 Nofth M iam iAvei)ue-Room 12-4-M iam i,Florida33128       FlLED 66                       O'O '
 M ovantDavid Andrew Christenson
 June6th, 2o2o                                                                        JU8 112022
                                                                                       ANGELA E.NOBLE
                                                                                      CLERK U.S DfS77CT.
                  M otion forPermission to Save YourLife -JustChangethe Narr ive      s ()oppt
                                                                                             m.-MIAMI

 Tim e isofthe essence withthe 2020 PresidentialElection in Iessthan fi
                                                                      ve m onths.lfTrum p orBiden
 winsthatw illbe the finalnailinthe coffin ofthe Uni
                                                   ted States.

 Since Plessyv.Ferguson hasneverbeen trulyoverturned,have theSupreme Courtoverturn Plessyv.
 Ferguson163U.S.537(1896)asasymbolofchangeandanew beginning.Itwould be suchaneasyand
 sim ple solutionto avery com plex problem .Itwould be a starting point.

 StatementofFacts.OurPoliticalSystem isdoomed and the Executive and Legislative Branchesare not
 capable norwilling to save it.Isthe Suprem e Court?

 The Supreme Courthasto save America.Ithasto be thiswaybecause the Supreme Courtislegitim ate
 perthe Constitution.

 The Supreme Courthasmade m istakes.Acknow l
                                           edging those m istakesand taking responsibility for
 them willsavethiscountryotherwisePresidentLincolnwasright:''wehavedestroyedourselveslrom
 within''

 Law Enforcem entisa productofPoliticsand interpretation by theJudiciary.

 Ifanyone hasa rightto be angry with Law Enforcem entitism e butw hatwe are doing now isw rong.

 InnocentLaw Enforcem entAgentsare being m urdered.Itwillnotbe Iong before thevturn theiranger
 towardsPoliticiansand Judaes.

 Chokeholdshave beenaround forever.Law Enforcem entisunfairly being held accountable forwhatthe
 PoliticiansandJudgesdid.

 There isa perfectstorm outthere and itwillnotbe forgiving.

 THETIM E IS COM ING W HEN IW ILL NOT BEABLETO SAVEYOU.

                                      Filed in the following cases:

        UnitedStatesv.Boucher(1:18-cr-00004)DistrictCourt,W .D.KentuckyJudgeMarianne0.
        BattaniFederalCourt-231 W .Lafayette Blvd.,Room 252 -Detroit,M I48226
        UnitedStatesv.Flynn (1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudge E.Sulli
                                                                                       van
        FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
Case 1:20-cv-21108-UU
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                      Document 41 Entered on FLSD Docket 06/11/2020 Page 2 of 4



    3. United Statesv.Stone(1:19-cr-00018)DistrictCourt,DistrictofColumbiaJudgeA.Jackson
       FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
    4. Grecov.PeoplesRepublicofChina (5:20-cv-02235)DistrictCourt,E.D.PennsylvaniaJudgeAnita
       Blumstein Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
    5. Patellav.PeoplesRepublicofChina(1:20-cv-00433-TDS-JEP)DistrictCourt,M.D.NorthCarolina
       Judge ThomasD.SchroederFederalCourt-251 N.M ainStreet-W inston-salem,NC 27101
    6. Beni
          tez-W hitev.PeoplesRepublicofChina(4:20-cv-01562)DistrictCourt,S.D.TexasJudge
       Ewing W erlein Jr.FederalCourt-515 RuskStreet-Houston,TX 77002
    7. StateofMississippiv.People'sRepublicofChina(1:20-cv-00168-LG-RHW )DistrictCourt,S.D.
       M ississippiJudge LouisGuirolaJr.FederalCourt-2012 15thStreet-Suite 814 -Gulfport,MS
       39501
    8. AzeleaW oodsofOuachitav.PeoplesRepublicofChina(3:20-cv-00457-TAD-KLH)DistrictCourt,
       W .D.LouisianaJudgeTerry Al
                                 vin Doughty FederalCourt-zollackson Street-Suite 215 -
       M onroe,Louisiana 71201
    9. Edwardsv.PeoplesRepublicofChina(2:20-cv-01393)DistrictCourt,E.D.LouisianaHon N.V.
       Jolivette Brow n FederalCourt-500 PoydrasStreet-New Orleans,LA 70130
    10.StateofM issouriv.PeoplesRepublicofChina(1:20-cv-00099)DistrictCourt,E.D.M issouriJudge
       Stephen Lim baugh -FederalCourt-555 Independence Street-Cape Girardeau,M O 63703
    11.Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudge Ursula
       Ungaro FederalCourt-400 North M iam iAvenue -Room 12-4 -M iam i,Florida 33128
    12.BellaVistaLLCv.ThePeoplesRepublicofChina(2:20-cv-00574)DistrictCourt,D.NevadaJudge
       JamesC.M ahan -FederalCourt-333 S.LasVegasBlvd -LasVegas,NV 89101
    13.BuzzPhotov.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt,N.D.TexasJudge Ed
       Kinkeade FederalCourt-1100 Com merce St.-Room 1625 -Dallas,Texas75242
    14.CardiffPrestigeProperty,Inc.v.PeoplesRepublicofChina (8:20-cv-00683)DistrictCourt,C.D.
       CaliforniaJudge David 0.Carter-FederalCourt-411 W estFourth St.-Courtroom 9D -Santa
       Ana,CA,92701
    15.BourqueCPA s& Advisorsv.ThePeoplesRepublicofChina(8:20-cv-00597)DistrictCourt,C.D.
       CaliforniaJudge R.Gary Klausner-FederalCourt-255 EastTem ple Street-LosAngeles,CA
       90012
    16.Aharonv.ChineseCommunistParty(9:20-cv-80604)DistrictCourt,S.D.FloridaJudge RoyK.
       Altman FederalCourt-299 EastBroward Blvd.-FortLauderdale,FI.33301
    17.Smithv.ChineseCommunistParty(2:20-cv-01958)DistrictCourt,E.D.PennsylvaniaJudgeAnita
       B.Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
    18.UnitedStatesv.Flynn (1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudgeJohnGleeson
       Debevoise & Plim pton LLP-919 Third Avenue -New York,New York 10022
    19.UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbiaAttorneyBeth
       W ilkinson -2001 M StreetN.W .-10th Floor-W ashington,D.C.20036
    20.UnitedStatesv.Manning(1:19-dm-00012)DistrictCourt,E.D.VirginiaJudgeAnthonyJohn
       Trenga FederalCourt-401Courthouse Square -Alexandria,VA 22314
    21.UnitedStatesv.Snowden (1:19-cv-01197)DistrictCourt,E.D.VirginiaJudge Liam O'Grady
       FederalCourt-401 Courthouse Square -Alexandria,VA 22314
    22.UnitedStatesv.Snowden (1:13-cr-265))DistrictCourt,E.D.VirginiaSeniorJudgeClaudeM .
       Hilton FederalCourt-401Courthouse Square -Alexandria,VA 22314
Case 1:20-cv-21108-UU Document 41 Entered on FLSD Docket 06/11/2020 Page 3 of 4



    23.UnitedStatesv.W inner(1:17-cr-00034)DistrictCourt,S.D.GeorgiaJudgeJamesRandalHall
        FederalCourt-600 Jam esBrow n Blvd.-Augusta,GA 30901
    24.UnitedStatesv.Assange (1:18-cr-00111)DistrictCourt,E.D.VirginiaSeniorJudgeClaude M.
        Hilton FederalCourt-401Courthouse Square -Alexandria,VA 22314
    25.Inre:MichaelFlynn(20-5143)CourtofAppealsforthe D.C.CircuitClerkMarkLangerU.S.
        AppealsCourtD.C.-333 ConstitutionAve.N.W .-W ashington D.C.20001
    26.lnre:RealityW inner(20-11692)CourtofAppealsforthe11thcircuitClerkDavidSmithAppeals
        Court11thCircuit-56 Forsyth St.,N.W . - Atlanta,Georgia 30303
    27.CenterforDemocracy& Technologyv.Trump (1:20-cv-01456)DistrictCourt,Districtof
        Colum biaJudgeTrevorNeilM cFadden-FederalCourt-333 Constitution Ave.N.W .-
        W ashington D.C.20001
    28.Mccarthyv.Pelosi(1:20-cv-01395-RC)DistrictCourt,DistrictofColumbiaJudgeRudolph
        Contreras-FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001

 Godspeed

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 504-715-3086
 davidandrewchristenson@ gm ail.com;
 dchristenson6@ hotmail.com ;

                                               CERTIFICATEOFSERVICE

            1hereby certify thaton June 6th 2020 Ie the foregoing with the ClerkofCourtand
                 served the pleadingp 11c nsel         rd bye-m ailand first-classmail.
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